 Case 3:19-cv-02255-M-BT Document 16 Filed 10/23/19                   Page 1 of 3 PageID 339




                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 STEVEN CREAR                                     §
                                                  §
        Plaintiff,                                §
                                                  §
 v.                                               §
                                                  § CIVIL ACTION NO. 3:19-cv-02255-M
 LONG BEACH MORTGAGE                              §
 WASHINGTON MUTUAL BANK                           § JURY
 MORTAGE SECURITY                                 §
 CORPORATION                                      §
 CHASE BANK, N.A.                                 §
                                                  §
        Defendants.


  DEFENDANT JPMORGAN CHASE BANK N.A’S MOTION TO LABEL PLAINTIFF
             A VEXATIOUS LITIGANT AND FOR SANCTIONS


       Defendant JPMorgan Chase Bank, National Association, incorrectly named as “J.P.

Morgan Chase Bank, N.A.” (“JPMC”) files this Motion to Label Plaintiff a Vexatious Litigant and

for Sanctions, asking the Court to label Plaintiff Steven Crear a vexatious litigant and to sanction

him by entering an injunction preventing him from filing additional suits in this district against

JPMC and its predecessors in interest relating to the property at issue in this suit and respectfully

shows the Court as follows:

       1.      JPMC files this Motion pursuant to the All Writs Act, 28 U.S.C. § 1651, and the

court’s inherent power because Plaintiff’s actions and filings, including at least five lawsuits

relating to the loan and real property underlying this lawsuit and at least four similar lawsuits

relating to another loan and piece of real property establish he is a vexatious litigant because he




DEFENDANT JPMORGAN CHASE BANK, N.A.’S MOTION TO
LABEL PLAINTIFF A VEXATIOUS LITIGANT AND FOR SANCTIONS                                       PAGE 1
 Case 3:19-cv-02255-M-BT Document 16 Filed 10/23/19                  Page 2 of 3 PageID 340



has filed numerous, harassing, and duplicative lawsuits without a good faith basis for pursuing the

litigation that has imposed a substantial burden on both JPMC and the courts.

       2.      The requested relief is the most narrow sanction available that will adequately

prevent Plaintiff from harassing JPMC and protect this Court’s jurisdiction and docket.

       3.      Legal argument in support of this motion is provided in the accompanying brief.

       WHEREFORE, Defendant JPMorgan Chase Bank, N.A. prays that the Court grant this

Motion to Label Plaintiff a Vexatious Litigant and for Sanctions and for whatever further relief it

may be entitled to.

                                             Respectfully submitted,

                                              /s/ Eric G. Carlson
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DEFENDANT JPMORGAN CHASE BANK, N.A.’S MOTION TO
LABEL PLAINTIFF A VEXATIOUS LITIGANT AND FOR SANCTIONS                                     PAGE 2
 Case 3:19-cv-02255-M-BT Document 16 Filed 10/23/19                    Page 3 of 3 PageID 341



                              CERTIFICATE OF CONFERENCE

        This is to certify that on October 3, 8, and 23, 2019 counsel for Defendant JP Morgan
Chase Bank, N.A. attempted to confer with Plaintiff regarding the relief sought in this motion by
telephone and left messages with Plaintiff regarding the same. Additionally, although relief is not
sought pursuant to Rule 11, counsel for Defendant sent Plaintiff, via certified mail return receipt
requested, a copy of the Motion and Supporting brief on October 1, 2019 to allow him to withdraw
the challenged filings and agree to the relief sought herein prior to filing. Plaintiff did not return
the messages or respond to the correspondence and counsel for Defendant has been unable to reach
Plaintiff to confer.

                                               /s/ Eric G. Carlson
                                               Eric G. Carlson

                                 CERTIFICATE OF SERVICE
        This is to certify that on October 1, 2019 and October 23, 2019 a true and correct copy of
the foregoing pleading has been furnished to Plaintiff, via certified mail, return receipt requested,
in accordance with the Federal Rules of Civil Procedure.

       Stephen Crear
       1617 Gillarel Springs
       Dallas, Texas 75241
       Pro se Plaintiff
                                                /s/ Eric G. Carlson
                                               Eric G. Carlson




DEFENDANT JPMORGAN CHASE BANK, N.A.’S MOTION TO
LABEL PLAINTIFF A VEXATIOUS LITIGANT AND FOR SANCTIONS                                        PAGE 3
